Case: 1:98-cv-08318 Document #: 332-2 Filed: 11/05/07 Page 1 of 14 PagelD #:3781

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JOSEPH DEMAURO, )
)
Plaintiff, )
Vv. ) No. 98 C 8318

) Judge Gottschall
BETTY LOREN-MALTESE )
and TOWN OF CICERO, )
)
Defendants. )

PLAINTIFE’S SUPPLEMENTAL LOCAL RULE 54.3(e) STATEMENT
REGARDING ATTORNEYS’ FEES AND RELATED NONTAXABLE EXPENSES

Plaintiff JOSEPH DEMAURO (“DeMauro”) by his attorneys and pursuant to Local Rule
54.3(e), submits the following supplement to his Local Rule 54.3(e) Statement Regarding Attorneys’
Fees and Related Nontaxable Expenses for the time period running from February 1, 2007 through
October 31, 2007.' Attached hereto and incorporated herein by reference are the time and expense
records of Hughes Socol Piers Resnick & Dym, Ltd. for this case, which show the time, tasks and
expenses for which compensation is sought for this time period.

As set forth in the attached time and expense records, DeMauro claims fees (for attorneys and
paralegals) in the total amount of $34,414.50, and nontaxable expenses in the amount of $469.82 for

the time period of February 1, 2007 through October 31, 2007.

Terence J. Moran 63.7 hours at $370 per hour: $23569.00
Peter C. McLeod 28.1 hours at $200 per hour: 5620.00
Cara Hendrickson 16.5 hours at $215 per hour: 3590.50
Karen L. Bass Ehler 4.8 hours at $175 per hour: 840.00
Alex Montgomery 0.6 hours at $200 per hour: 120.00
Arianna Cisneros 6.7 hours at $75 per hour: 502.50
Matthew Montalvo 1.6 hours at $75 per hour: 120.00
Marci Sahinoglu 0.7 hours at $75 per hour: 52.50

$34,414.50

 

' DeMauro reserves the right to seek an award of additional fees and expenses incurred
thereafter, including work on defendants’ appeal of the judgment against them and in favor of

DeMauro. EXHIBIT

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These supplemental fees are based on the “lodestar” method. The affidavits of Terence J. Moran and
Judson H. Miner previously submitted in support of DeMauro’s Local Rule 54.3(e) Statement, as well
as the attached Supplemental Affidavit of Terence J. Moran, support the hourly billing rates sought by

DeMauro in this supplement.

Respectfully submitted,
s/ Terence J. Moran

Terence J. Moran, Esq.

Hughes Socol Piers Resnick & Dym, Ltd.
70 West Madison, Suite 4000

Chicago, Illinois 60602

Attorneys for Plaintiff Joseph DeMauro

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Case: 1:98-cv-08318 Document #: 332-2 Filed: 11/05/07 Page 3 of 14 PagelD #:3783

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JOSEPH DEMAURO, )
)
Plaintiff, )
Vv. ) No. 98 C 8318

) Judge Gottschall
BETTY LOREN-MALTESE )
and TOWN OF CICERO, )
)
Defendants. )

SUPPLEMENTAL AFFIDAVIT OF TERENCE J. MORAN

I, Terence J. Moran, state under oath that the following facts are true.

1. This Affidavit supplements the Affidavit submitted to the Court on March 12,
2007 as part of Plaintiff's Local Rule 54.3(e) Statement Regarding Attorneys’ Fees And Related
Nontaxable Expenses, which itself was Exhibit 1 to Plaintiff's Motion For Award Of Attorneys’
Fees And Related Nontaxable Expenses.

2. The increase in the hourly rates for attorneys listed in both the Plaintiff's first
Local Rule 54.3(e) Statement and the foregoing Supplemental Local 54.3(e) Statement reflect
rate increases our law firm put into place across the board for those attorneys for calendar year
2007. Since the overwhelming bulk of time reflected in the initial Statement was for 2006 and
earlier, the initial Statement used our firm’s 2006 hourly rates. The only attorney whose time
appears only in Plaintiff's Supplemental Statement is Ms. Karyn L. Bass Ehler.

3. Ms. Bass Ehler has been employed as Associate Attorney for our law firm since
September of 2007. She earned a Bachelor of Arts degree from Northwestern University in 2000
and a Juris Doctor degree cum laude in 2005 from DePaul University School of Law, where she

was Editor-in-Chief of the DePaul Law Review for the 2004-2005 academic year. During the
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summer of 2004, Ms. Bass Ehler was a Summer Associate at Kirkland & Ellis, LLP. During
2005 and 2006, she was a Judicial Law Clerk for Hon. William J. Bauer of the U.S. Court of
Appeals for the Seventh Circuit. During 2006 and 2007, until she joined our firm, Ms. Bass
Ehler was a Judicial Law Clerk for Hon. Matthew F. Kennelly of this judicial district. Since
joining our firm, Ms. Bass Ehler has conducted legal research, drafted briefs and legal
memoranda in civil rights and general litigation matters. I believe the $175 hourly fee charged
for Ms. Bass Ehler’s work on this case is reasonable and consistent with market rates for
attorneys with similar qualifications and experience.

4. Our law firm’s time and expense records for this case which are submitted with
Plaintiff's Supplemental Local Rule 54.3(e) Statement accurately document the time spent, tasks
performed and disbursements made in connection with this case during the time period covered
by those records. As with every case, firm attorneys and staff were required to make
contemporaneous entries of time spent, tasks performed and disbursements made in connection

with this case. Those time and expense entries were then compiled in our law firm’s

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Terence J. Morfn/

computerized billing system.

FURTHER AFFIANT SAYETH NOT.

SIGNED and SWORN to before me

this 5"" day of November, 2007.

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NOTARY PUBLIC - STATE OF ILLINOIS
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INVOICE NO.:
JOSEPH DEMAURO
1210 S. AUSTIN BLVD., APT.7
CICERO, IL 60804
Client No.: 0101387
Matter No.: 138710534 TOWN OF CICERO

For Legal Services and Disbursements
For the Period Ending Oct 31, 2007

Conduct analysis of attorney fees

Conference with Ms. Cisneros re defendant
fee/hours/expense analysis; letter to Mr.
Delgado

Conduct analysis of attorney fees; submit same
to P. McLeod and T. Moran for review; edit
analyses

Review fee calculation/schedule; conference
with Mr. Moran and review correspondence re:
same

Revise letter to Mr. Del Galdo; conferences
with Mr. Piers and Mr. McLeod re same; email
correspondence with Ms. Cisneros re breakdown
of defendants' fees and expenses

Draft motion to file additional exhibits;
obtain and review fee cases cited by
defendants; review correspondence from the Town

Review email from Ms. Cisneros re defendants’
fees and expenses; review minutes of 1-9-07
Town Board meeting; conference with Mr. McLeod
re above and re moving to add minutes and
Tribune article as reply brief exhibits;
letters from/to Messrs. Spatano and Zimmer

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JOSEPH DEMAURO Nov 2, 2007 PAGE 2
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02/06/07 TUM Revise letter to Messrs. Spatano and Zimmer; 2.20
legal research re fee issues; telephone mail
messages from/to Mr. Hernandez re his
communication with Town officials

02/07/07 TUM Telephone conference with Mr. Hernandez re his .40
communications with Town officials; prepare for
2/8 court appearance

02/12/07 TJM Letter to Mr. Spataro re fee/expense records .20
02/13/07 TJM Review court notice; telephone conference with .60
Mr. DeMauro re status; review letter from Mr.

Hunt
02/22/07 TJM Review 2/19 letter from Mr. Spataro; review .90

motion to reset L.R. 54.3 schedule; prepare
responsive letter to Mr. Spataro; review L.R.
54.3(d) letter from Messrs. Spataro and Zimmer

02/23/07 TUM Local Rule 54.3 letter to Messrs. Spataro and 1.60
Zimmer; begin work on joint statement; review
defendants' response to costs motion to strike

02/24/07 TJM Review DeMauro/Hernandez billing records in 1.40
light of Messrs. Spataro and Zimmer's 2/21
letter; continued work on draft Local Rule
54.3(e) Joint Statement:

02/26/07 TJM Review defense counsel fee records in light of 1.80
Messrs. Spataro and Zimmer's 2/21 letter;
complete work on draft L.R. 54.3(e) joint
statement; letter to Messrs. Spataro and Zimmer

02/27/07 TUM Revise/finalize letter to Messrs. Spataro and .80
Zimmer; review fax from Mr. Spataro's
assistant Rosemary Bolas re Joint Statement;
telephone conference with Ms. Bolas re same;
telephone conference with Mr. DeMauro re
status, recent developments and options if
denied reinstatement

03/02/07 TUM Review letter from Mr. Spataro; draft/revise .30
letter response to same
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JOSEPH DEMAURO Nov 2, 2007 PAGE 3
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03/06/07 TUM Review defendants! Motion for Leave to File; 2.30
draft Motion to Strike Costs Objections Reply;
begin work on Fee/Expense Motion

03/07/07 TJM Continued work on Fee Motion; check court call . 80
sheet re motion noticed for 3/8/07

03/09/07 ARM Research issue of sanctions for defense .60
counsel's failure to comply with local rule
54.3.

03/09/07 NMM'- Deliver Courtesy Copy to Judge Gottschall's .40
Chamber.

03/09/07 TJM Continued work on Fee Motion; conference with 2.70

Ms. Montgomery re research assignment; review
case law compiled by Ms. Montgomery; email to
Ms. Hendrickson re finding additional case law

03/11/07 CAH Conduct legal research re sanction for failure 1.80
to participate in fees conference under Local
Rule 54.3; draft email to T. Moran re results
of research.

03/12/07 AEC Contact J. Miner to ask for signature on 1.10
affidavit to support fee petition; schedule
meeting re same; go to J. Miner's office to get
signature and to get the affidavit notarized.

03/12/07 NMM Delivery to Judge Gottschall Chambers (2356) -40

03/12/07 TIM Complete work on Fee Petition and related 7.40
documents and exhibits; review email from Ms.
Hendrickson and cases discussed therein;
telephone conference with Mr. Miner re his
Affidavit; telephone conference with Ms.
Cisneros re obtaining signature on same

03/13/07 NMM Deliver Courtesy Copy of Motion for Award of .40
Attorneys Fees and Related Nontaxable Expenses

03/13/07 TUM Review docket sheet for defendant Post-Trial .30
Motion Reply Brief; letter to Mr. Hunt re same
JOSEPH DEMAURO

Nov 2, 2007

FILE NUMBER: 138710534
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Review defendant's reply in support of post
trial motions; conference with Mr. Moran re
same

Review/analyze defendants' Post Trial Motion
Reply Brief; note to and conference with Mr.
McLeod re same

Review defendants! motion for extension of time
to respond to fee motion

Review Town motion for extension of time;
telephone mail messages from/to Mr. McLeod re
same

Draft Response to Town Motion for Extension of
Time to File Response to Fee Motion

Review defendants' response to fee motion;
telephone conference with Mr. Moran re same

Telephone conference with Mr. McLeod re Town
response to fee petition

Review/analyze Town Response to Fee Motion

Print cases from Westlaw from defendants'
objection to plaintiffs' motion for fees and
non-taxable expenses

Review/analyze cases cited in the Town's Fee
Motion Response

Complete review/analysis of cases cited in the
Town's Fee Motion Response

Conference with Mr. Moran re fee motion; review
plaintiff's fee motion and defendant's
response; review cases cited by defendant in
response brief.

Conference with Ms. Hendrickson re Fee Motion
and her drafting reply brief re same

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JOSEPH DEMAURO Nov 2, 2007 PAGE
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Conduct legal research re reply brief in
support of motion for attorney fees; review
cases cited by defendant in response brief.

Draft reply brief in support of motion for
attorney's fees; read cases cited by defendant
in response brief; conduct legal research re
issues raised in defendant's response brief.

Draft reply memo in support of plaintiff's
motion for attorney's fees; conduct legal
research re issues raised in defendant's
response brief.

Draft reply brief in support of motion for
attorney's fees.

Draft reply brief in support of motion for
attorney's fees.

Draft reply brief in support of motion for
attorney's fees.

Draft motion to extend time to file reply
brief; conference with Mr. Moran re same.

Review draft Fee Motion reply; email
correspondence with Ms. Hendrickson re same;
conference with Mr. McLeod re Motion to Extend
Time to file same

Revise draft Fee Motion Reply —

Edit draft reply of brief in support of motion
for attorney's fees.

Deliver courtesy copy of Mot. to Extend time to
file reply brief in support of motion for award
of att's fees and related nontaxable expenses

Conference with Mr. Moran re reply in support
of fee petition and supporting materials;
review petition for fees and Town's fee
records.

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JOSEPH DEMAURO

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Nov 2, 2007

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Conference with Ms. Hendrickson re additional
work on fee motion reply

Continued work on fee motion

reply

Continued work on fee motion

reply
reply

reply

Continued work on fee motion

Continued work on fee motion
Review and draft reply brief in support of fee
motion; assemble exhibits

Continued work on and finalize fee motion
reply; review exhibits to same and arrange for
filing/service of same

Letter to Judge Gottschall re Fee Motion Reply
Telephone conference with Mr. DeMauro re status
Review current fees and expenses; draft motion
for leave to supplement and supplement Local
Rule 54.3(e) statement

Draft supplemental motions

Draft response to motion to supplement
post-trial motions; conference with Mr. Moran

Review/revise response to defendants’ motion
and supplemental post-trial brief; conference
with Mr. McLeod re same

Work on response to Motion to Supplement

Letter to Judge Gottschall re response to
Motion to Supplement

Telephone mail message from and telephone
conference with Mr. Demauro

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JOSEPH DEMAURO

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Nov 2, 2007

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Review ruling on Motion to Strike Objection to
Bill of Costs; conference with Mr. McLeod
regarding Response to Objections

Review rulings on post-trial motions; telephone
mail messages to/from Mr. McLeod regarding same
and regarding next steps; telephone conferences
with Mr. DeMauro regarding same; telephone
conference with Mr. Hernandez regarding his
conversation with Mr. Del Galdo

Review order re: post-trial motions; calculate
total award based ruling; review rules re:
post-judgment interest; conference with Mr.
Moran

Email correspondence and conference with Mr.
McLeod regarding Prejudgment Interest
Calculations and method for calculating
post-judgment interest

Draft Response to defendants' objections to
bill of costs; conference with Mr. Moran

Conference with Mr. McLeod re Response to Costs
Objections

Review post-judgment interest calculation
prepared by Mr. Delagrange; conference with Mr.
McLeod re preparing a Motion for Entry of
Modified Judgment

Continue drafting response to defendants’
response and objections

Conference with Mr. McLeod re Motion For Entry
Of Amended Judgment

Draft response to objections to bill of costs

Conference with Mr. McLeod re our response to
Town Objections to Bill of Costs

Draft motion to modify judgment order

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JOSEPH DEMAURO

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Nov 2, 2007

138710534

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Review/revise draft response to bill of costs
objections; review/revise draft motion for
entry of amended judgment order

Final work on Response To Bill Of Costs
Objections; work on Motion For Entry Of Amended
Judgment; telephone conference with Mr. Roche
re current labor contract

Letter to Judge Gottschall re response to Costs
Objections; review income documents provided by
Mr. DeMauro; work on Motion For Entry Of
Amended Judgment

Review letter from Mr. Roche and current
FOP/Cicero Collective Bargaining Agreement for
patrol officers; work on Motion For Entry Of
Amended Judgment

Work on motion re amended judgment
Work on amended joint motion
Work on Motion For Entry Of Amended Judgment

Conference with Mr. Moran regarding status of
case and research assignment.

Review Town Motion to Reconsider and Notice of
Appeal; conferences with Ms. Bass Ehler and Mr.
Piers re same

Conference with Mr. Moran regarding bond and
judgment research; conducted research on rules
regarding posting bond pending appeal.

Conference with Mr. Piers re effect of
Loren-Maltese not filing Notice of Appeal;
conference with Ms. Bass Ehler re same and re
legal research assignment re effect of Town's
failure to seek stay of execution of judgment

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JOSEPH DEMAURO
FILE NUMBER: 138710534
INVOICE NO.: ******

Nov 2,

2007

and post supersedeas bond and issues re Town

Motion for Reconsideration;

review relevant

rules of Appellate procedure; telephone mail

review Loren-Maltese's
Notice of Appeal and related documents) and
Seventh Circuit Notice

message to Mr.

DeMauro;

10/29/07 KBE Conducted research and drafted memo regarding
requirements under Rule 59, Rule 62(d), motions
and bond pending appeal.

to reconsider,

10/29/07 TJM Review Ms. Bass Ehler's research re procedural
and substantive requirements for Motions for
Reconsideration; prepare Motion to Strike or
Deny Town's Motion for Reconsideration; review
Ms. Bass Ehler's research re supersedeas bonds

10/30/07 TUM Telephone conference with Mr. DeMauro re status
and appeal; prepare for 2007 court appearance

Fee Summary

ARIANNA CISNEROS

ALEX MONTGOMERY

CARA HENDRICKSON

KARYN BASS EHLER

MARCI SAHINOGLU

MATHEW MONTALVO

PETER MCLEOD

TERENCE J. MORAN

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370.00

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52.50
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5620.00
23569.00

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JOSEPH DEMAURO

FILE NUMBER: 138710534
INVOICE NO.: ******

02/05/07
03/12/07

10/31/07
02/28/07
02/28/07
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Disbursements.:

Messenger delivery service to 219 S. Dearborn
St.

Cab fare to obtain signature for affidavit on
fee petition

Westlaw on-line research fee

Monthly Fax Expense

Monthly Postal Expense

Monthly Office Photocopy Expense

Monthly Fax Expense

Monthly Office Photocopy Expense

Monthly Office Photocopy Expense

Nov 2,

2007

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264.
67.

117.

Total Disbursements.:

Total Current Bill.:

Balance Due.:

Retainer to be applied:

Total Due.:

PAGE

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